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                                                                6                                UNITED STATES DISTRICT COURT
                                                                7
                                                                                                     DISTRICT OF NEVADA
                                                                8

                                                                9    JESSICA MARTINEZ-ARRIAGA, an            Case No.: 2:23-cv-01845-JAD-NJK
                                                                     individual,
RAFII & ASSOCIATES, P.C.
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                                                               10
                                                                     Plaintiff,                              STIPULATION AND ORDER TO
                                                               11    v.                                      EXTEND TIME FOR PLAINTIFF TO
                                                                                                             FILE OPPOSITION TO DEFENDANTS’
                                                               12    BRIGGS MANAGEMENT LLC, d/b/a            MOTION FOR SUMMARY JUDGMENT
                                                                     and a/k/a Fat Tuesday; BRIGGS
                                                               13    MANAGEMENT, INC., d/b/a and a/k/a       (FIRST REQUEST)
                                                                     Fat Tuesday; and DOES 1 through 50,
                                                               14    inclusive,
                                                                                                                         ECF No. 40
                                                               15                  Defendants.

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                                                               18           Plaintiff, JESSICA MARTINEZ-ARRIAGA, by and through her counsel of record, RAFII &

                                                               19 ASSOCIATES, P.C., and Defendants BRIGGS MANAGEMENT INC. AND BRIGGS

                                                               20 MANAGEMENT LLC, (“Defendants”) by and through their counsel of record, the law firm of

                                                               21 LEWIS BRISBOIS BISGAARD & SMITH LLP, submit the following Stipulation to Extend Time

                                                               22 for Plaintiff to file her Opposition to Defendants’ Motion for Summary Judgment:
                                                                         1.        STATUS OF ACTION
                                                               23
                                                                          On November 9, 2023, Defendants removed this matter from State Court to United States
                                                               24
                                                                  District Court, District of Nevada. Defendants’ Statement Regarding Removal was filed on
                                                               25
                                                                  November 29, 2023. The Parties’ Rule 26(f) Conference was held on December 5, 2023. The Parties’
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                                                                  Joint Discovery Plan and Scheduling Order (the “Scheduling Order”) [ECF. No. 24] was filed on
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                                                                          STIPULATION TO EXTEND TIME FOR PLAINTIFF TO FILE OPPOSITION
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                                                                1 December 27, 2023. An Early Neutral Evaluation was held on February 15, 2024. [ECF No. 36]. The

                                                                2 case did not settle.

                                                                3          Per the Scheduling Order, the cutoff for discovery was May 7, 2024. Discovery is now

                                                                4 complete. Also, per the Scheduling Order, dispositive motions were due to be filed by June 6, 2024.

                                                                5 On May 13, 2024, Defendants and Plaintiff entered into a Stipulation to Extent the Time to File

                                                                6 Dispositive Motions and Related Dates. [ECF No. 37]. The Court entered the Parties Stipulation and

                                                                7 Ordered as such on May 14, 2024. [ECF No. 38].

                                                                8          2.      STIPULATION TO EXTEND OPPOSITION TO DEFENDATNTS’ MOTION

                                                                9          Plaintiff received Defendants’ Motion for Summary Judgment on July 8, 2024. [ECF No. 39].
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                                                               10 On July 9, 2024, Plaintiff’s Counsel (Robert Montes, Jr.), corresponded with Defendants’ counsel

                                                               11 regarding a week’s extension. Plaintiff’s counsel requires and additional week in which to respond

                                                               12 to Defendants’ Motion and will be on a family vacation the week of July 22, 2024. Given the extent

                                                               13 and number of exhibits, and facts that are to be disputed Plaintiff’s counsel will require the additional

                                                               14 time in which to respond.

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                                                                          STIPULATION TO EXTEND TIME FOR PLAINTIFF TO FILE OPPOSITION
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                                                                1         WHEREFORE, the Parties respectfully request that this Court extend the time for Plaintiff to

                                                                2 file her Opposition to Defendants’ Motion from July 29, 2024, to August 5, 2024.

                                                                3

                                                                4         RESPECTFULLY SUBMITTED BY THE FOLLOWING COUNSEL OF RECORD:

                                                                5 DATED this 19th day of July, 2024.                  DATED this 19th day of July, 2024.
                                                                6

                                                                7    LEWIS BRISBOIS BISGAARD & SMITH LLP               RAFII & ASSOCIATES, P.C.

                                                                8
                                                                     /s/Jeffrey D. Winchester                          /s/ Robert Montes
                                                                9    JEFFREY D. WINCHESTER                             ROBERT MONTES, JR.
                                                                     Nevada Bar No. 10279                              California Bar No. 159137
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                                                               12
                                                                     Attorneys for DEFENDANTS BRIGGS                   Attorneys for PLAINTIFF
                                                               13    MANAGEMENT LLC and BRIGGS                         JESSICA MARTINEZ-ARRIAGA
                                                                     MANAGEMENT, INC.
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                                                                                                              IT IS SO ORDERED:
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                                                                                                              UNITED STATES DISTRICT COURT JUDGE
                                                               19
                                                                                                                      7/24/24
                                                               20                                             DATED: ___________________

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                                                                         STIPULATION TO EXTEND TIME FOR PLAINTIFF TO FILE OPPOSITION
